           Case 1:13-cv-01832-JDB Document 47 Filed 06/12/14 Page 1 of 5




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              *
                                                      *
               Plaintiff,                             *
                                                      *     CASE NO. 13-CV-1832(JDB)
v.                                                    *
                                                      *
ALL ASSETS HELD IN ACCOUNT                            *
NUMBER 80020796, IN THE NAME OF                       *
DORAVILLE PROPERTIES CORPORATION,                     *
AT DEUTSCHE BANK INTERNATIONAL,                       *
LIMITED IN JERSEY, CHANNEL ISLANDS,                   *
AND ALL INTEREST, BENEFITS, OR                        *
ASSETS TRACEABLE THERETO, ET AL.,                     *
                                                      *
               Defendants,                            *

 RESPONSE TO AFFIDAVIT IN SUPPORT OF DEFAULT AGAINST DEFENDANTS

     ASSETS LISTED IN PARAGRAPHS 4(a), 4(b), 4(c), 4(d), 4(e), 4(f) AND 4(g) OF THE

                                          COMPLAINT

Now comes the Federal Republic of Nigeria by and through it attorneys Kenneth Nnaka, Esq.

and Jude C. Ezeala Esq. who file this Response to the Affidavit in Support of Default against

Defendants Assets listed in paragraphs 4(a), 4(b), 4(c), 4(d), 4(e), 4(f) and 4(g) of the Complaint

and states as follows:

      1. We acknowledge that the time allowed by the Rules of court to file an Answer in this

         matter has expired.

      2. A motion has been filed for enlargement of time to file the said Answer and an Answer

         already prepared was filed as an Exhibit and attached to the motion.
             Case 1:13-cv-01832-JDB Document 47 Filed 06/12/14 Page 2 of 5




      3. The reasons for the failure to file the pleading on time were explained in the motion and

           such reasons are prayed to be deemed as excusable neglect warranting a favorable

           exercise of discretion in favor of an enlargement of time.

      4. Movants have reviewed the letter purporting to emanate from the Honorable Mr.

           Mohammed Bello Adoke, Attorney General of Nigeria to the extent that Jude C. Ezeala,

           Kenneth A. Nnaka, Godson M. Nnaka and Charles Lion Agwumezie are not authorized

           to represent the Federal Republic of Nigeria in this matter.

      5. By letter dated 25th February, 2004 the Honorable Chief Akinlolu Olujinmi then

           Attorney General of and Minister of Justice of the Federal Republic of Nigeria instructed

           and retained Mr. Godson M. Nnaka (a then United States based Attorney) to recover the

           funds looted by the Abacha administration. This Letter of Instruction is attached as

           EXHIBIT A.

      6. The Letter of instruction was issued by the former Attorney General of the Federal

           Republic of Nigeria, received and accepted by Mr. Nnaka eight years before Mr. Adoke

           became the Attorney General and Minister of Justice.1

      7. Pursuant to that instruction, Mr. Godson M. Nnaka took several steps that were necessary

           to realize the instructions including but not limited to retaining Jude C. Ezeala, Kenneth

           A. Nnaka, and Charles Lion Agwumezie, all of who are licensed and barred attorneys.

           Mr. Nnaka also retained Nnoli & Okoye & Associates (a Nigerian Law Firm).

      8. Following the unsealing of this case and filing of the initial claim on behalf of the Federal

           Republic of Nigeria, the office of the Honorable Mr. Mohammed Bello Adoke, Attorney

           General of Nigeria was briefed on the developments in this case.



1
    Mr. Mohammed Bello Adoke was appointed the Attorney General and Minister of Justice on April 10, 2012.
           Case 1:13-cv-01832-JDB Document 47 Filed 06/12/14 Page 3 of 5




    9. A copy of the letter submitted to his office dated April 4, 2014 and titled RE: FILING OF

        CLAIM AND PROTECTION OF NIGERIA’S INTEREST is attached as EXHIBIT B.

    10. Mr. Godson M. Nnaka is still in Nigeria pursuing the instructions given since 2004.

    11. A civil client has the unfettered right to discharge his Attorney at any time.

    12. However, at no time did Mr. Adoke either acting alone or purporting to act on behalf of

        the Federal Republic of Nigeria communicate to Mr. Godson M. Nnaka that the 2004

        instructions were revoked or that the legal services provided through him were no longer

        required.

    13. At no time did the Federal Republic of Nigeria revoke or cancel the initial instruction

        given to Mr. Godson Nnaka prior to June 2, 2014.

    14. The letter filed by Mr. Adoke on June 2, 2014 directly to this court constitutes a false

        statement. Mr. Adoke’s letter gives the impression that the aforementioned attorneys

        were never authorized as represented and are nothing but meddlesome interlopers who

        are acting in clear violation of Court Rules and Attorney Rules of Professional Conduct.

        This is far from the truth.

    15. Again on May 15, 2014, by letter addressed to the Honorable Mr. Adoke titled

        “Confirmation of Official Instruction Issued to Messrs Godson M. Nnaka, Attorney at

        Law of New York USA”, the Honorable Chief Akinlolu Olujinmi former Attorney

        General of and Minister of Justice of the Federal Republic of Nigeria (who issued the

        initial brief on behalf of the Federal Republic of Nigeria in 2004) confirmed the 2004

        Letter of Instruction given by his administration to Mr. Godson M. Nnaka.2




2
 Chief Akinlolu Olujinmi is now engaged in private legal practice with Head Office at 5th Floor, NICON Plaza, Plot
242 Muhamadu Buhari Way, Garki, Abuja Nigeria.
          Case 1:13-cv-01832-JDB Document 47 Filed 06/12/14 Page 4 of 5




    16. A copy of this confirmation letter was also served upon Mr. Adoke’s office on May 20,

        2014 and a stamped copy is attached as EXHIBIT C.

    17. Also attached as EXHIBIT D is a letter submitted on June 10, 2014 and received by the

        office of the President of the Federal Republic of Nigeria clearly showing that

        consultations are still ongoing in this matter between the Federal Republic of Nigeria and

        agents of Mr. Godson M. Nnaka.


WHEREFORE, Movant respectfully urges the court to formerly disregard the letter authored by

Mr. Adoke as having been made in bad faith until Mr. Godson Nnaka is served with an official

letter terminating the instructions given in 2004, and any further order that the justice of this

matter may require.

Respectfully Submitted:

I declare under penalty of perjury that the foregoing is true and correct.

Executed on June 12, 2014

/s/ Kenneth Nnaka
TBA#24032796
Law Offices of Nnaka & Associates, PLLC (Lead Firm)
2650 Fountain View Dr. Ste. 332
Houston, TX 77057
Ph No: 713.266.1446 / Fax No: 713.266.1447

I declare under penalty of perjury that the foregoing is true and correct.

Executed on June 12, 2014

Jude Chukwuma. Ezeala, Esq.,
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judeezeala@hotmail.com
District of Columbia Bar Number: 988728
          Case 1:13-cv-01832-JDB Document 47 Filed 06/12/14 Page 5 of 5




                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of this Response to the Affidavit in Support of

Default against Defendants Assets listed in paragraphs 4(a), 4(b), 4(c), 4(d), 4(e), 4(f) and 4(g) of

the Complaint was filed via the Court’s electronic filing system and same forwarded to the Asst.

U.S. Attorney Elizabeth A. Aloi, Washington, DC on this 12th day of June, 2014.




/s/ Kenneth Nnaka
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